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 1                                                                HONORABLE RICHARD A. JONES

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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9
     ORGANO GOLD INT’L, INC., a Washington
10   corporation,
11                       Plaintiff,                       NO. 2:16-CV-00487-RAJ
12            v.                                          DECLARATION OF GIANSALVO
                                                          LICARI IN OPPOSITION TO MOTION
13   LUIS VENTURA, an individual, LUZ                     FOR TEMPORARY RESTRAINING
     ANGELA VENTURA, an individual; and                   ORDER AND PRELIMINARY
14   L&A VENTURA MANAGEMENT, INC., a                      INJUNCTION
     Texas corporation,
15
                         Defendants.
16

17

18            I, Giansalvo (“John”) Licari, do say and declare:

19            1.     I am the chief operating officer (“COO”) of Total Life Changes, LLC (“TLC”).

20   As such, I oversee all of TLC’s daily operations and report directly to the chief executive

21   officer, Jack Fallon. I have personal knowledge of the facts stated in this declaration and, if

22   called as a witness, could and would testify competently thereto.

23            2.     TLC is a nutritional supplement company which uses the marketing (multi-level)

24   network distribution channel to sell a wide range of consumer products. TLC’s range of products

25   includes teas, oils, shapewear garments, skin care lotions, cleansing products, make-up products,

26   weight loss products, and nutritional supplementation products. In total, TLC has a total of

     DECLARATION OF GIANSALVO LICARI IN OPPOSITION TO                       GARVEY SCHUBERT BARER
                                                                          A PARTNERSHIP OF PROFESSIONAL CORPORATIONS
     MOTION FOR TEMPORARY RESTRAINING ORDER AND                                    eighteenth floor
                                                                                 1191 second avenue
     PRELIMINARY INJUNCTION - 1                                           seattle, washington 98101-2939
     (CASE NO. NO. 2:16-CV-00487-RAJ)                                               206 464 3939


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 1                                    CERTIFICATE OF SERVICE

 2            I, Greta Nelson, certify under penalty of perjury of the laws of the State of Washington

 3   that on April 14, 2016, I electronically filed the foregoing document with the Clerk of the Court

 4   using the CM/ECF system which will send notification of such filing to all associated counsel

 5   of record.

 6            Kevin A. Bay                                   kbay@tousley.com
                                                             kstokes@tousley.com
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              James M. Bulthuis                              JBulthuis@Tousley.com
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14            Brandon Q. Tran                                btran@buchalter.com
15                                                           kmills@buchalter.com

16

17            SIGNED this 14th day of April, 2016 at Seattle, Washington.
18

19                                                 s/ Greta Nelson
                                                   Greta Nelson, Legal Assistant
20
                                                   GARVEY SCHUBERT BARER
21                                                 1191 Second Avenue, 18th Floor
                                                   Seattle, WA 98101-2939
22                                                 Phone: (206) 464-3939
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26

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